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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                   §
 IN RE: LARRY E. KLAYMAN                           §          No. 3:20-MC-043-B
                                                   §


                                              ORDER

          Before the Court is Counsel’s Motion to Chief Judge Barbara M.G. Lynn to Intervene in the

Interests of Justice and the Proper Administration of this Court and to Vacate Orders of the Honorable

Jane Boyle Imposing Reciprocal Discipline without Due Process of Law and to Adher [sic ] to and

Comply with Rule 83.8(h)(3) of this Court (ECF No. 12). The Court interprets this motion as a

request to reconsider its ruling on the motion for abeyance (ECF No. 11).

          For reasons previously stated in prior orders of this Court, the motion (ECF No. 12) is

denied.

          SO ORDERED.

          SIGNED THIS 19th DAY of AUGUST, 2020.



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                                               _________________________________
                                               JANE J. BOYLE
                                               UNITED STATES DISTRICT JUDGE
